       Case 4:20-cr-00045-AW-MAF Document 32 Filed 02/12/21 Page 1 of 5




           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

UNITED STATES OF AMERICA
v.                                                 Case No. 4:20-cr-45-AW-MAF
DAVID WAYNE ARING,
     Defendant.
_______________________________/
                 PRELIMINARY ORDER OF FORFEITURE

       The United States has moved for a Preliminary Order of Forfeiture. ECF

No. 31.

       The defendant pleaded guilty to receipt of child pornography, in violation of

18 U.S.C. §§ 2252A(a)(2) and 2252A(b)(1). ECF No. 21; see also ECF No. 22. The

Indictment included a criminal forfeiture provision. ECF No. 1 at 2-4. The

government now seeks the forfeiture of the following:

     a. One SanDisk 16 GB thumb drive, SN: BL130323463B,

     b. One SanDisk Extreme USB 3.0 32 GB thumb drive, SN: BM130123463B,

     c. One PNY 8 GB thumb drive, SN: 441FA208 Hex,

     d. One DataTraveler 112 USB 2GB thumb drive,

     e. One SanDisk 32 GB (pink) thumb drive, SN: BM150725243B,

     f. One HP 4GB thumb drive SN# 0Xecc030008b014,

     g. One Samsung Galaxy S5 cell phone, IMEI: 310260681180201,

     h. SanDisk Ultra USB 3.0 128 GB thumb drive, SN: BP180526263B,
                                         1
      Case 4:20-cr-00045-AW-MAF Document 32 Filed 02/12/21 Page 2 of 5




   i. One Cooler Master desktop computer, SN: Unavailable,

   j. Two doll wigs and clothing,

   k. One sex doll,

   l. One World of Warcraft dongle,

   m. One HP Pavilion P6210y PC desktop computer, SN: MXU9470GWD,

   n. One external hard drive, SN: WX21DA87C2HU.

      The court finds that the above-listed property is subject to forfeiture pursuant

to 18 U.S.C. § 2253 and that the government has established the requisite nexus

between such property and the offense.

      Accordingly, it is hereby ORDERED that the government’s motion is

GRANTED.

      It is FURTHER ORDERED that, pursuant 18 U.S.C. § 2253; 28 U.S.C.

§ 2461(c); and Federal Rule of Criminal Procedure 32.2(b)(4), the defendant’s

interest in the property identified above is hereby forfeited to the United States for

disposition according to law.

      It is FURTHER ORDERED that, upon the entry of this Order, the United

States is authorized to seize the assets above, whether held by the defendant or by a

third party, and to conduct any discovery proper in identifying, locating or disposing

of the property subject to forfeiture, in accordance with Rule 32.2(b)(3).


                                          2
      Case 4:20-cr-00045-AW-MAF Document 32 Filed 02/12/21 Page 3 of 5




      It is FURTHER ORDERED that, upon entry of this Order, the United States

is authorized to commence any applicable proceeding to comply with statutes

governing third-party rights, including giving notice of this Order.

      It is FURTHER ORDERED that, in accordance with the law, the United States

shall cause to be published at least once, notice of this Order, notice of its intent to

dispose of the property in such manner as the Attorney General (or a designee) may

direct, and notice that any person, other than the defendant, having or claiming a

legal interest in the aforementioned property must file a petition with the Court

within 30 days of the final publication of the notice, or within 60 days of the first

date of publication on an official internet government forfeiture site at

www.forfeiture.gov. The United States must also, to the extent practicable, provide

written notice to any person known to have an alleged interest in the property.

      It is FURTHER ORDERED that any person, other than the above-named

defendant, asserting a legal interest in the above-described property may, within 30

days of the Final Publication of Notice or Receipt of Notice, whichever is earlier,

petition the court for a hearing without a jury to adjudicate the validity of his alleged

interest in the subject property, and for an amendment of the Order of Forfeiture,

pursuant to 28 U.S.C. § 2461(c), which incorporates 21 U.S.C. § 853(n).

      It is FURTHER ORDERED that pursuant to Rule 32.2(b)(4), this Preliminary

Order of Forfeiture will become final as to the defendant at the time of sentencing,

                                           3
      Case 4:20-cr-00045-AW-MAF Document 32 Filed 02/12/21 Page 4 of 5




or before sentencing if the defendant consents, and will be made part of the sentence

and included in the judgment. If no third party files a timely claim, this Order will

become the Final Order of Forfeiture, as provided by Rule 32.2(c)(2).

      It is FURTHER ORDERED that any petition filed by a third party asserting

an interest in the subject property must be signed by petitioner under penalty of

perjury and must set forth the nature and extent of the petitioner’s right, the title, or

interest in the subject property, the time and circumstances of the petitioner’s

acquisition of the right, title or interest in the subject property, any additional facts

supporting the petitioner=s claim and the relief sought.

      It is FURTHER ORDERED that after the disposition of any motion filed

under Rule 32.2(c)(1)(A) and before a hearing on the petition, discovery may be

conducted in accordance with the Federal Rules of Civil Procedure upon a showing

that such discovery is necessary or desirable to resolve factual issues.

      It is FURTHER ORDERED that the United States shall have clear title to the

subject property following the court’s disposition of all third-party interests, or, if

none, following the expiration of the period provided in 21 U.S.C. § 853(n)(2)

(which is incorporated by 18 U.S.C. § 982(b)) for the filing of third-party petitions.

      It is FURTHER ORDERED that the court will retain jurisdiction to enforce

this Order, and to amend it as necessary, pursuant to Rule 32.2(e).




                                           4
Case 4:20-cr-00045-AW-MAF Document 32 Filed 02/12/21 Page 5 of 5




SO ORDERED on February 12, 2021.

                             s/ Allen Winsor
                             United States District Judge




                               5
